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Judge Graham,
US District Court
Southern District of Ohio

January 6, 2020

Dear Judge James Graham,

|! am writing this letter to let you know that your idea of medical care and the Bureau of Prison’s
idea may not be the same. As you know you sentenced my wife and step son to 42 months in
prison for among other things Medicare fraud. The sentencing hearing was set for June 7,
2019. It took place for Clint Green, but as you may recall you continued the hearing for my wife
until August.

During the second hearing you stated that after consulting with the Bureau of Prisons you were
confident that they could handle my wife serious medical condition.

Now for the real story, it was determined that my wife would serve her time in the minimum
security Coleman Camp. She arrived on October 31 before noon as ordered. You may recall
we requested a few days so that she could have an issue with a broken wrist taken care of
before reporting. Unfortunately, your order was signed hours after her scheduled report time so
she reported with a splinted wrist.

When she met with the medical provider in the Camp she was asked why she reported with her
wrist in that condition. She then met with the doctor a who said he would not look at her wrist
until the following Tuesday. He did look at the wrist but did not do anything to it. et was an
appointment scheduled for her which took place Thursday November 21, some three weeks
after she reported. The doctor there had her examined by an orthopedic surgeon who said
surgery should be scheduled as soon as possible.

Jeralyn had surgery on the day before Thanksgiving. The doctor used screws and plates to
repair the wrist. My wife asked what the follow up will consist of, she was told they will notify the
prison camp but not her. He follow up has been almost non-existent.

So, just to let you know we expect little or no care for her synthetic arteries and have received
no reason to believe that the Bureau of Prisons has any interest or mechanism to treat her for
this serious issue. In fact the medical personnel who saw her upon check-in told her that they
cannot treat her for that serious condition.

Now, after New Year she is still in a splint and her wrist cannot move, and worse she has no
follow up scheduled with a doctor. Based upon what | have seen of the BOP medical protocols
it SRpears the BOP official who told you rs can handle my wife’s condition was either

  
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United States District Court

Southern District of Ohio
85 Marconi Boulevard
Columbus, Ohin 43215

 

Chambers of
James £. Graham
District Judae

January 21, 2020

Edwin Dougherty
5 Queensgate Court
Ormond Beach, FL 32174

Re: United States v. Dougherty,
Case No. 2:18-cr-229-2

Dear Mr. Dougherty,

I have received your letter dated January 6, 2020. Thank you
for the information you have provided. I have asked the
Probation Office to assist ne fin making inquiries concerning the
matters discussed in the letter.

Sincerely,

2. L. Graham

United States District Judge
